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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 GREGG T. CARDIN, individually, and on           )
 behalf of all others similarly situated,        )
                                                 )    Case no. 1:21-cv-03350
                Plaintiff,                       )
                                                 )    Honorable: Franklin U. Valderrama
     v.                                          )
                                                 )
 NEWREZ LLC d/b/a SHELLPOINT                     )
 MORTGAGE SERVICING,                             )
                                                 )
                 Defendant.

              DEFENDANT SHELLPOINT'S MOTION STAY DISCOVERY

       Pursuant to Fed. R. Civ. P. 26(c)(1), defendant NewRez LLC d/b/a Shellpoint Mortgage

Servicing (Shellpoint), moves to stay discovery pending the outcome of its motion to dismiss.

The basis to stay discovery is fully set forth in Shellpoint's memorandum of law and the declaration

of Rebekah Carpenter dated December 17, 2021, which are incorporated here by reference and

filed contemporaneously.

Dated: December 17, 2021                      Respectfully Submitted,

                                              NewRez LLC d/b/a Shellpoint Mortgage Servicing

                                              /s/ Rebekah A. Carpenter
                                              Rebekah A. Carpenter (ARDC #6305616)
                                              Geneka L. Holyfield (ARDC #6325671)
                                              AKERMAN LLP
                                              71 South Wacker Drive, 47th Floor
                                              Chicago, IL 60606
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                             CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of Defendant Shellpoint's Motion to Stay

Discovery was filed and served upon all parties via the Court's CM/ECF system on December 17,

2021.

                                           /s/ Rebekah A. Carpenter
                                           Rebekah A. Carpenter (ARDC #6305616)




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